        Case 1:17-cv-11008-MLW Document 282 Filed 05/18/18 Page 1 of 6



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,

                       Plaintiff,

        v.                                        No. 1:17-cv-11008

 CELLTRION HEALTHCARE CO., LTD.,
 CELLTRION, INC., and
 HOSPIRA, INC.

                       Defendants.



 ASSENTED-TO MOTION FOR LEAVE TO IMPOUND CONFIDENTIAL PORTIONS
        OF DEFENDANTS’ MEMORANDA AND CERTAIN EXHIBITS

       Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order (Case No. 15-10698,

Dkt. 170), Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc.

(collectively “Defendants”), hereby move this Court for an Order to impound or otherwise seal the

following documents, on the ground these documents contain or reveal Plaintiff’s, Defendants’

and/or third-party confidential and proprietary information:

  Documents Related to Defendants’ Memorandum in Support of Defendants’ Motion in
 Limine No. 6: to Preclude Janssen from Offering Evidence and Argument Regarding the
                Safe-Harbor Provision of 35 U.S.C. § 271(E)(1) (Dkt. 280)

   •   Defendants’ Memorandum In Support Of Defendants’ Motion in Limine No. 6: to
       Preclude Janssen from Offering Evidence and Argument Regarding the Safe-Harbor
       Provision of 35 U.S.C. § 271(e)(1) (“Safe-Harbor MIL”);

   •   Exhibit 1 to the Safe-Harbor MIL, Excerpts of the Deposition Transcript of Richard Lit;

   •   Exhibit 2 to the Safe-Harbor MIL, Excerpts of the Deposition Transcript of Beverly
       Ingram;

   •   Exhibit 3 to the Safe-Harbor MIL, Opening Damages Expert Report of Richard Lit dated
       January 19, 2018;
      Case 1:17-cv-11008-MLW Document 282 Filed 05/18/18 Page 2 of 6



 •   Exhibit 4 to the Safe-Harbor MIL, Reply Damages Expert Report of Richard Lit, dated
     April 10, 2018;

Documents Related to Defendants’ Memorandum in Support of Defendants’ Motion in
Limine No. 7: to Preclude Evidence and Argument Regarding Hypothetical Negotiations
            Based on the Date of Alleged Induced Infringement (Dkt. 272)
                           (“Hypothetical Negotiation MIL”)

 •   Exhibit 1 to the Hypothetical Negotiation MIL, Excerpts of the Expert Report of Dr. Sean
     Nicholson;

 •   Exhibit 2 to the Hypothetical Negotiation MIL, Excerpts of the Damages Expert Report
     of Dr. Michael Butler;

 •   Exhibit 3 to the Hypothetical Negotiation MIL, Excerpts of the Damages Expert Report
     of Mr. Richard Lit;

Documents Related to Defendants’ Memorandum in Support of Defendants’ Motion in
Limine No. 8: to Preclude Evidence and Argument from Janssen Concerning Privilege
    Instructions Regarding the Change of Manufacturing to Singapore (Dkt. 274)

 •   Defendants’ Memorandum in Support of Defendants’ Motion in Limine No. 8: to
     Preclude Evidence and Argument from Janssen Concerning Privilege Instructions
     Regarding the Change of Manufacturing to Singapore (“Privilege Instruction MIL”);

 •   Exhibit 1 to the Privilege Instruction MIL, Excerpts of the June 2, 2016 Deposition
     Transcript of Jong Moon Cho;

 •   Exhibit 4 to the Privilege Instruction MIL, Excerpts of the Deposition Transcript of Min
     Kyoung Jeon.

Documents Related to Defendants’ Memorandum in Support of Defendants’ Motion in
 Limine No. 9: to Preclude Evidence and Argument from Janssen’s Experts Based on
                   Speculation Outside Their Expertise (Dkt. 276)

 •   Defendants’ Memorandum in Support of Defendants’ Motion in Limine No. 9: to
     Preclude Evidence and Argument from Janssen’s Experts Based on Speculation Outside
     Their Expertise (“Speculation MIL”);

 •   Exhibit 1 to the Speculation MIL, Excerpts of the April 17, 2018 Deposition Transcript of
     Michael Butler;

 •   Exhibit 2 to the Speculation MIL, Excerpts of the Opening Damages Expert Report of Dr.
     Michael Butler;

 •   Exhibit 3 to the Speculation MIL, Excerpts of the Reply Damages Expert Report of Dr.
     Michael Butler.



                                             2
        Case 1:17-cv-11008-MLW Document 282 Filed 05/18/18 Page 3 of 6



       Documents Related to Defendants’ Memorandum in Support of Defendants’ Motion
 in Limine No. 10: to Preclude Janssen from Offering Evidence and Argument Regarding
                            Contract Interpretation (Dkt. 278)

   •   Defendants’ Memorandum In Support Of Defendants’ Motion in Limine No. 10: to
       Preclude Janssen from Offering Evidence and Argument Regarding Contract
       Interpretation (“Contract-Interpretation MIL”);

   •   Exhibit 1 to the Contract-Interpretation MIL, Excerpts of the Reply Damages Expert
       Report of Richard Lit, dated April 10, 2018;

   •   Exhibit 2 to the Contract-Interpretation MIL, Document bearing Bates number
       CELLREM-0060910;

   •   Exhibit 3 to the Contract-Interpretation MIL, Excerpts of the Deposition Transcript of
       Richard Lit;

Defendants filed publicly available, redacted versions of each of the above memoranda (Safe-

Harbor MIL, Hypothetical Negotiation MIL, Privilege Instruction MIL, Speculation MIL, and

Contract-Interpretation MIL) through the electronic filing system. Defendants request the other

documents identified above be sealed in their entirety.

       Plaintiff assents to this Motion.

       WHEREFORE, Defendants respectfully request that this Court allow this Motion.




                                                3
      Case 1:17-cv-11008-MLW Document 282 Filed 05/18/18 Page 4 of 6



Dated: May 18, 2018                Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

                                   /s/Andrea L. Martin, Esq._______
                                   Dennis J. Kelly (BBO # 266340)
                                   Andrea L. Martin (BBO #666117)
                                   BURNS & LEVINSON LLP
                                   125 Summer Street
                                   Boston, MA 02110-1624
                                   Tel: 617-345-3000
                                   dkelly@burnslev.com
                                   amartin@burnslev.com

                                   James F. Hurst, P.C. (pro hac vice)
                                   Bryan S. Hales, P.C. (pro hac vice)
                                   Elizabeth A. Cutri (pro hac vice)
                                   Gregory B. Sanford (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   300 North LaSalle
                                   Chicago, IL 60654
                                   Tel: (312) 862-2000
                                   james.hurst@kirkland.com
                                   bryan.hales@kirkland.com
                                   elizabeth.cutri@kirkland.com
                                   gregory.sanford@kirkland.com

                                   Ryan Kane (pro hac vice)
                                   James McConnell (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   601 Lexington Avenue
                                   New York, NY 10022
                                   Tel: (212) 446-4800
                                   ryan.kane@kirkland.com
                                   james.mcconnell@kirkland.com

                                   Noah S. Frank (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   655 Fifteenth St., N.W.
                                   Washington, DC 20005
                                   Tel: (202) 879-5000
                                   noah.frank@kirkland.com




                                    4
Case 1:17-cv-11008-MLW Document 282 Filed 05/18/18 Page 5 of 6



                             Charles B. Klein (pro hac vice)
                             WINSTON & STRAWN LLP
                             1700 K Street, N.W.
                             Washington, D.C. 20006-3817
                             Tel: (202) 282-5000
                             cklein@winston.com

                             Samuel S. Park (pro hac vice)
                             Dan H. Hoang (pro hac vice)
                             WINSTON & STRAWN LLP
                             35 W. Wacker Drive
                             Chicago, IL 60601-9703
                             Tel: (312) 558-7931
                             spark@winston.com
                             dhoang@winston.com

                             Attorneys for Defendants Celltrion Healthcare
                             Co., Ltd., Celltrion, Inc., and Hospira, Inc.




                              5
           Case 1:17-cv-11008-MLW Document 282 Filed 05/18/18 Page 6 of 6



                                 LR 7.1(a)(2) CERTIFICATION

         I, Andrea L. Martin, hereby certify that Defendants’ counsel conferred with Plaintiff’s

counsel regarding this motion; Plaintiff assents to this Motion.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

         I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.
4824-1747-9526.1




                                                  6
